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FILED

Mr. Joseph Gallardo #71561-067 HARRISBURG, PA

Moshannon Valley Correctional Center AUG 1 0 2017
555 Geo Drive
Philipsburg, PA 16866 OWA

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,
J CRIM. NO. 1:14-CR-00221

JOSEPH R. GALLARDO,
Defendant.

MOTION FOR LEAVE TO SUPPLEMENT
DEFENDANT'S TRAVERSE TO GOVERNMENT'S REPLY
TO DEFENDANT'S MOTION FOR BAIL

AND NOW, comes the petitioner, Joseph R. Gallardo, proceeding pro se, and submits this
Motion for Leave to Supplement his traverse to the Government's reply in opposition to his
motion for bail pursuant to Rule 23 of the Federal Rules of Appellate Procedure.

The Government argues that, Defendant expressly waived the statute-of-limitations defense
when the defendant and his counsel [allegedly] signed a waiver agreement on April 05, 2014.
(Exhibit A). Mr. Gallardo, however, asserts that he did not knowingly and voluntarily enter into
the waiver agreement. In fact, from June 09, 2016, the date he discovered the waiver agreement,
until now, Mr. Gallardo has consistently averred two things: (1) he did not sign the waiver
agreement; and (2) he has never seen the said document before June 09, 2016.(Exhibit B)

Enclosed you will find copies of the attorney visitation log from Dauphin County Prison.
(Exhibit C) In the copies included with this Motion one can see that attorney Joshua D. Lock did

not visit defendant, Joseph R. Gallardo on April 05, 2014. Which is the alleged day when the
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defendant and counsel signed the Waiver Agreement. How can defendant sign the Waiver
Agreement when counsel Lock did not visit defendant on April 05, 2014?

Also, included is a copy of attorney Lock’s affidavit which states that defendant and counsel
signed the Waiver Agreement on April 05, 2014. (Exhibit D) Attorney Lock visited defendant on
March 29, 2014, and then the next date that attorney Lock visited defendant is on April 07, 2014.
There is NO visitation from attorney Lock to defendant Gallardo on April 05, 2014. If defendant
did sign Waiver Agreement on April 07, 2014- which he did not- then fraud on the court has
been committed by fraudulently back dating a legal document.

This also explains the email sent to attorney Lock on April 21, 2014 from the former AUSA
Christy Haas Fawcett. (Exhibit E) In that email the former AUSA Fawcett states to attorney Lock
that the Waiver Agreement needs to be back-dated to April 01, 2014. Is it legal to back date a

pertinent legal document?

Dated: post O27 20/7

Respectfully submitted,

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CERTIFICATE OF SERVICE

» Joseph R. Gallardo, hereby certify that I have on this
Qe (ZL day of vousT » 2017, served a copy

of the foregoing MOTION, MOTION FOR LEAVE TO SUPPLEMENT
DEFENDANT'S TRAVERSE TO GOVERNMENT'S REPLY TO DEFENDANT'S

MOTION FOR BAILupon counsel for the government:

1) Chelsea B. Schinnour
U.S. Department of Justice
United States Attorney's Office
Middle District of Pennsylvania
228 Walnut Street, Suite 220
Harrisburg, PA 17108

2) Office of the Clerk
United States District Court
United States Courthouse
228 Walnut Street
P.O. Box 983
Harrisburg, PA 17108

by United States Mail, first class postage prepaid.

g. "71561- 067
Moshannon Valley Correctional Center
555 Geo Drive

Philipsburg, PA 16866
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EXHIBIT A
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IN THE MATTER OF JOSEPH GALLARDO

WAIVER AGREEMENT

The following agreement is entered into by and
between the United States Attorney for the Middle
District of Pennsylvania, the above-captioned
individual and his counsel. Any reference to the
United States or to the Government in this Agreement
shall mean the office of the United States Attorney
for the Middle District of Pennsylvania.

WHEREAS, Joseph Gallardo is presently the
subject of a federal criminal investigation and a
criminal complaint charging him with mail fraud,
in violation of Title 18, United States Code, has

been filed in connection with the investigation;

and
WHEREAS, Joseph Gallardo, his counsel, and the
United States are presently engaged in discussions

which are mutually intended to result in a
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pre-indictment disposition of any potential

criminal charges; and

WHEREAS, all parties to this agreement mutually
agree that it would be beneficial for these
discussions to go forward prior to any action by
a grand jury in this matter; and

WHEREAS, Joseph Gallardo has been fully informed
of his right to prosecution within the period
defined by any statute of limitations, and wishes
to waive this right for a limited period of time
in order to allow the parties to complete their
current discussions and negotiations;

It is therefore mutually agreed as follows:

Joseph Gallardo agrees to toll any applicable
Statute of limitations and waive any defenses to
the filing of federal criminal charges by the United
States in this matter based upon laches, the
assertion of speedy trial rights, any applicable

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statute of limitations or any other grounds from
the date of this agreement through June 1, 2014,
ACKNOWLEDGMENTS

I have read this agreement and carefully reviewed
every part of it with my attorney. I fully
understand it and I voluntarily agree to it.

\ oe

_Josébh Geitardo

I am the defendant's counsel. I have carefully
reviewed every part of this agreement with the
defendant. To my knowledge my client's decision to
enter into this agreement is an informed and

voluntary one.

Date ! © Jog¢gh\ia Lock, Esquire
Coussel for Defendant

Date Christy H. Fawcett
Assistant U.S. Attorney
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EXHIBIT B
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Commonwealth of Pennsylvania
County of Cl ear jel

Joseph R. Gallardo
Moshannon Valley Correctional Center
555 Geo Drive
Philipsburg, PA 16866
Reg. No. 71-561067
July 27, 2016
United States District Court for the
Middle District of Pennsylvania
U.S. Courthouse and Federal Building
240 West Third Street

P.O. Box. 983
Harrisburg, PA 17108

RE: AFFIDAVIT Of Signature

Dear Sir or Ma'am:

I would like to begin by saying that before June 9, 2016,
I, Joseph R. Gallardo have NEVER seen the legal document
WAIVER AGREEMENT! When I first noticed the document and read
it thoroughly, I noticed that the signature on page three of
this three page document is NOT my signature. Let me reiterate,
the signature is not my signature and the date written is NOT
in my hand writing. This legal document has been FRAUDULENTLY
created! To the best of my knowledge, this legal document
called WAIVER AGREEMENT has been FRAUDULENTLY created by
AUSA Christy Haas Fawcett and attorney Joshua D. Lock. I have
enclosed a copy of an email which was mailed from AUSA Fawcett
to attorney Lock which talks about WAIVER AGREEMENT and
BACK DATING this legal document. The email was sent on
April 21, 2014 and mentions said legal document and back dating

WAIVER AGREEMENT to April 1, 2014! IS this ethically legal?

, Resp Do oc Co
A. A Aue

COMM ee OF PENNSYLVANIA 5 dé dés So. AK Sworn to and subscribed before me
- NOTARIAL SEAL
CC JRG Angela G, Green, Notary Public O Wo Yor Me this 7" aay oily 2 201.

~ Decatur Twp., Clearfield County
_ My Commission Expires June 4, 2018
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EXHIBIT C
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EXHIBIT D
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Case 1:14-cr-00221-SHR Document 141-1 Filed 06/30/17 Page 8 @ig GoverRNMENT

EXHIBIT
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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : AFFIDAVIT OF JOSHUA

D. LOCK
v.

1:14-CR-221
JOSEPH R. GALLARDO

I Joshua D. Lock, Esquire, being first duly sworn, deposes and
says:

_ 1. I was retained to represent Joseph Gallardo “Gallardo” in case
number 1:13-MJ-93 and in case number 1:14-CR-221, when a
Criminal Information was filed in U.S. District Court.

2. I began my representation of Gallardo on or about March 24,
2014. Pursuant to my ethical duties, I reviewed discovery and
engaged in discussions with the Government. This included
spending a multitude of hours at the Postal Inspection Service
reviewing documents and meeting with my client to discuss my
findings. .

3. Since the documentary evidence in the case was voluminous,
we agreed with the Government to continue the deadline to file
an Indictment or Criminal] Information on three occasions.
These waivers were discussed with my client at length and he
was fully advised of the strategic benefits of extending these
deadlines. |

4. We became aware that the Government was contemplating
charges against Gallardo’s spouse, Elizabeth Gallardo.
Elizabeth Gallardo retained counsel in the matter and engaged
in discussions with the Government. This was the primary
factor of consideration for Gallardo in the resolution of his case,

~ and this is something that he and I discussed at length.

5. It was because of his desire to see the case of his spouse
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resolved without criminal charges, that he agreed to waive the
statute of limitations in case 1:14-CR-221. He signed and.
executed the waiver of his rights on April 5, 2014s I also

. executed the waiver and sent the document to the U.S.
Attorney’s Office. See Attached, “Waiver Agreement.”

6. My client was fully informed of his Constitutional rights and

| willingly waived those rights in order to secure the best
possible resolution for himself and his spouse, Elizabeth
Gallardo.

7. Lat.no time forged the signature of Joseph Gallardo on any
legal documents.

FURTHER AFFIANT SAYETH NAUGHT.

4 DQ |

JDSHVA D. LOCK, ESQUIRE

_ SWORN AND SUBSCRIBED TO before me this tt day of
CUA.

2017, at taviabuna Pape Reennrgleauegs

MOD AOA

7 2 Notary Public

My commission expires: 0% le [2014

COMMONWEALTH OF PENNSYLVANIA _
NOTARIAL SEAL
Naomi Losch, Notary Public
Clty of Harrisburg, Dauphin. County
-2- My Commission Expires Aug. 16, 2019
” JEMBER. PENNSYLVANIA ASSOCIATION OF NOTARIES

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EXHIBIT E
Case 1:14-cr-00221-SHR Document148 Filed 08/10/17 Page 17 of 18

Joshua Lock

From: Fawcett, Christy Hy (USAPAM) [Christy.F awcett@usdoj.gov]

Sent: ‘Monday, April 21, 2014 14:38 AMs

To: Rmintz@mccarter.com; Joshua Lock

Subject: FW: Agreement in Lieu of Prosecution for Elizabeth Gallardo and plea agreement for Joe
- Gallardo are attached as discussed.

Attachments: AGREEMENT IN LIEU OF PROSECUTION. docx; plea agreement. pdf

From: Fawcett, Christy H. (USAPAM)

Sent: Monday, April 21, 2014 11:37 AM

To: Rmintz@mccarter.com; jdl@goldbergkatzman.com

Subject: Agreement in Lieu of Prosecution for Elizabeth Gallardo and plea agreement for Joe Gallardo are attached as
discussed.

Also, please send me the executed waiver of the statute of limitations that we've discussed. ifthey’re not da ted, please
back date to April 1, 2014. Thankss Call with questions.
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